
*952In re Holland, Kim; — Plaintiff; Applying For Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, Nos. 499,737, 509,297, 512,366; to the Court of Appeal, First Circuit, Nos. 2006 CA 1141, 2006 CA 1142, 2006 CA 1143, 2006 CA 1144, 2006 CA 1163, 2006 CA 1140, 2006 CA 1159, 2006 CA 1160, 2006 CA 1161, 2006 CA 1162, 2006 CA 1145, 2006 CA 1158.
Granted. C/W-09-C-0571, 0584 and 0586.
